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                             EXHIBIT D




                             EXHIBIT D
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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY


   Civil Action No. 3:14-CV-05358

   CHANNEL METHOD PARTNERS, LLC

          Plaintiff,

   v.


   PHARMATECH, INC.


         Defendant.
   ______________________________________________________________________________

                        DECLARATION OF ROBERT BOHACS
   ______________________________________________________________________________

          Robert Bohacs, of full age, hereby declare under penalty of perjury that:
           1.      I am the Chief Executive Officer at Pharmatech, Inc. (“Pharmatech”). I submit
   this Declaration for the limited purposed of bringing to the Court’s attention certain facts related
   to personal jurisdiction and venue in support of Pharmatech’s Motion to Dismiss or, in the
   alternative, for More Definite Statement and to Transfer Venue.

          2.      Pharmatech’s sole office is located in Denver, Colorado.

          3.     Pharmatech has approximately 25 employees, several of which perform work
   from their homes, in various parts of the country.

         4.     Pharmatech has employees in California, Illinois, and New Jersey. Those
   employees work remotely.

          5.       The two employees that perform work from their homes in New Jersey have not
   performed any work or any tasks related to Channel Method Partners, LLC (“CMP”). They were
   not involved in procuring the contract at issue in this matter, and they were not involved in the
   services to be performed under the contract. Because those two employees perform all tasks and
   work remotely, their residence in New Jersey has no significance to Pharmatech’s operations and
   no bearing on the contract at issue.

          6.      The contract dated May 30, 2013 between Pharmatech and CMP was drafted by
   CMP.


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